           Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 1 of 14
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          M iam i,FL                                                        HonorableStefan R.Underhill
                                                                           DATES OF PROBATION/ FROM                    TO
                                                                           SUPERVISED RELEASE:    1/24/2013                 1/23/2015

          OFFENSE
          TAM PERING m TH W ITNESS -VICTIM -OR AN INFORM ANT.

          PART 1-ORDER TRANSFERRING JURISDICTION

          UNITED STATES DISTRICT COURT FOR THE                                         DISTRICT OF CONNECTICUT

                   IT ISHEREBY ORDERED thatpursuantto 18U.S.C.j3605.thejurisdiction oftheprobationeror
          supervised releasee nam ed above be transferred w ith the recordsofthe Courtto the United StatesD istrict
          CourtfortheSouthernDistrictofFloridauponthatCourt'sorderofacceptanceofjurisdiction.ThisCourt
          hereby expressly consents that the period of probation or supervised release m ay be changed by the
          D istrictCourtto which thistransferism ade withoutfurtherinquiry ofthis court.*
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          PART 2-ORDER ACCEPTING JURISDICTION

          UNITED STATES DISTRICT COURT FOR THE SOUTHERN DISTRICT OF FLORIDA

                   IT IS HEREBY ORDERED thatjurisdictionovertheabove-namedprobationer/supervisedreleasee
          beaccepted and assum ed by thisCourtfrom and afterthe entry ofthis order.


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            Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 2 of 14
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          SUPERVISED RELEASE

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          S'nndnM ConditionsofSupervisedReleaseasattached,areimposed. Inaddidon,thefollowing SpecialConditionsareimposed:
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                 2. n edefe xntshallnotposxssaGrearm,desmzctivedeviceoroierdangerousweapon.

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            JUAN CARLO S GUILLEN ZERPA                         DOCKETNUMBER:3:11CRA (545


                   1,JUAN CARLOS GUILLEN ZERPA,the above-named defendant,who is accused in
          CountOneofconspiracyto obstructan officialproceeding inviolationof18U.S.C,j 1512(k),
          being advised ofthe nature ofthe charges,the proposed Information,and ofmy rights,hereby
          waiveinopencoudonMay4,2011,prosecutionbyindictmentandconsentthatthe
          proceeding m ay be by inform ation ratherthan by Indictm ent.
                                                                       .           %v




                                                                 JU N A LO S G UILLEN ZERPA
                                                                 Defendant
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                     United States DistrictCourtJudge




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                                        U .S.D istrict Court
               United StatesDistrictCourtfortheDistrictofConnecticut(New Haven)
                     C R IM IN AL D O C K ET FO R C A SE #:3:11-cr-00076-SR U-1


Casetitle:USA v.Zerpa                                       DateFiled:05/04/2011
Magistratejudgecasenumber:3:11-mj-00039-W lG                DateTerminated:01/10/2012

Assigned to:Judge Stefan R.Underhill

Defendant(1)
Juan CarlosG uillen Zerpa                      represented by C arlos F.G onzalez
TERMINATED .01/10/2012                                        D iaz,R eus,& Targ,LLP
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                                                              100 SE 2nd St.
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                                                              305-375-9220
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                                                            Email:cgonzalez@ diazreus.com
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                                                            Jam esK .Filan ,Jr.
                                                            Filan LLC
                                                            315 PostRoad W est
                                                            W estport,CT 06880
                                                            203-557-9159
                                                            Fax:203-341-8560
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                                                                 Fax:305-375-8050
                                                                 Email:rtarg@ diazreus.com
                                                              fEAD .4TTORNE Y
                                                              PRO HAC VICE
                                                              A TTO RNEY TO BE N O TICED
                                                              D esignation:Retained

Pendinz Counts                                                D isposition
                                                              The defendantissentenced to 14 m onths
                                                              im prisonm ent;24 m onths supervised release
                                                              with M andatory,Standard and Special
TAM PERIN G W ITH W ITNESS,V ICTIM ,                          Conditionsimposed;specialassessm entof
O R A N IN FO RM AN T                                         $100.00 to be paid imm ediately;fine of
(1)                                                           $10,000.00 to be paid imm ediately.The
                                                              defendantshallsurrenderattheinstitution
                                                              designated by the Btlreau ofPrisonsbefore
                                                              2:00 p.m .2/29/2012.

HiehestOffenseLevelfopenine)
Felony

Term inated C ounts                                           D isposition
N one

H iEhestOffenseLevel(Term inated)
N one

C om plaints                                                  D isposition
Defendantviolated Title 18,United States
Code,Section 371 Conspiracy to Obstnzct
Justice,to Obstructan Oftk ialProceeding
and to DefraudtheU .S.Securitiesand
ExchangeComm ission and Title 18,United
StatesCode,Sections1512(c)(2)& 2
Obstm ction ofan Oftk ialProceeding


Plaintiff
                                              represented by D avid B.Fein
                                                             U .S.A ttorney'sO ffice-N l-l
                                                             157 Church St.,23rd tloor
                                                             N ew H aven,CT 06510
                                                             203-821-3700
                                                             Email:David.Fein@ usdoj.gov
                                                             adTTORN EY TO BE N OTICED

                                                             PaulA.M urphy
                                                             U .S.A ttorney'sO ffice-BPT
                                                             1000 Lafayette Blvd.,10th Floor
 7 of 14
          Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 8 of 14
                                                                         Bridgeporq CT 06604
                                                                         203-696-3000
                                                                         Fax:203-579-5575
                                                                        Email:Paul.Murphy@usdoj.gov
                                                                        .4TTORNE r TO BE N O TICED

                                                                        R ichard J.Schechter
                                                                        U.S.Attorney'sOffice-BPT
                                                                        1000 Lafayette Blvd.,10th Floor
                                                                        Bridgeport,CT 06604
                                                                        203-696-3000
                                                                        Fax:203-579-5575
                                                                        Email:Itichard.schechter@ usdoj.gov
                                                                        W TTORNEF FO BE NOTICED

Date Filed          #    DocketText
04/03/2012      j..z ORDER astoJuan CarlosGuillenZerpare79OrderonM otionforForfeitureofProperty.
                     Signedby JudgeStefanR.Underhillon 4/3/12.(Hungerford,A.)(Entered:04/03/2012)
03/19/2012      j-t FINAL ORDER DIRECTING FORFEITURE OF PROPERTY astoJuanCarlosGuillen
                    Zerpa..Signedby Clerkon 3/19/2012.(Lewis,D)(Entered:03/20/2012)
03/19/2012          80 O RD ER granting 7.3.MotionforExonerationofBondastoJuan CarlosGuillenZerpa(1).A
                                          .

                         writtenorderwillfollow.SignedbyJudgeStefanR.Underhillon3/19/2012.(Carter,J.)
                         (Entered:03/19/2012)
03/16/2012          79   ORDER granting 1iMotionforForfeimreofPropert
                                          .                             y astoJuanCarlosGuillenZerpa(1).
                         W rittenordertofollow.SignedbyJudgeStefanR.Underhillon3/16/12.(Sbalbi,B.)
                         (Entered:03/16/2012)
03/13/2012      7-3.
                .        M OTION forExonerationofBondbyJuanCarlosGuillenZerpa.(Attachments:#1Exhibit
                         A throughF)(Filan,James)(Entered:03/13/2012)
03/06/2012      E
                .        ORDER granting tmopposedD MotionRetum ofCashBondastoJuan CarlosGuillenZerpa
                         (1).SignedbyJudgeStefanR.Underhillon3/5/12.(Hungerford,A.)(Entered:03/06/2012)
03/02/2012      (4.
                  û      MOTION forForfeitureofProperty (FinalOrderofForfeiture)byUSA astoJuanCarlos
                         GuillenZerpa.(Attachments:#lNoticeofForfeitureandAdvertisementCertification
                         Report,#; TextofProposedOrder(FinalOrderofForfeiturelltschechter,Richard)(Entered:
                         03/02/2012)
03/01/2012     .11.      MOTION M otionforReturnofCash BondtoCotmselforDefendantbyJuanCarlosGuillen
                         Zerpa.(Attachments:#1 ExhibitA throughF)(Fi1an,Jnmes)(Entered:03/01/2012)
                '
01/10/2012      L4
               ..        JUDGM ENT asto Juan CarlosGuillenZerpa(1),Countts)1,Thedefendantissentencedto
                         14 m onths im prisonm ent;24 m onthssupervised release w ith M andatory,Standard and
                         SpecialConditionsimposed;specialassessmentof$100.00to bepaid im mediately;tineof
                         $10,000.00 to bepaid imm ediately.The defendantshallsurrenderatthe instimtion designated
                         by the Bureau ofPrisonsbefore 2:00 p.m .2/29/2012.Signed by Judge Stefan R.Underhillon
                    1/10/12.(Lewis,D)(Entered:01/10/2012)
01/09/2012      11. TRANSCRIPT ofProceedings:astoJuanCarlosGuillenZerpaTypeofHearing:Sentencing
                .

                         Hearing.H eld on 12/14/11before Judge Stefan R.U nderhill.CourtReporter:Susan E.
                         Catucci.IM PO R TA NT N O TIC E -R EDA C TIO N O F TR AN SC R IPT S:To rem ove
                         personalidentifierinform ation from the transcript,aparty mustelectronically tsleaNoticeof
                         IntenttoRequestRedactionwiththeClerk'sOffcewithinseven (7)calendardaysofthis
                         date.Ifno such N otice is filed,the courtw illassum e redaction ofpersonalidentifsersisnot
8 of 14
          Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 9 of 14
                         necessary andthetranscriptwillbem adeavailablethrough PACER withoutredaction 90
                         daysfrom today'sdate.Thetranscriptm ay beviewed atthe courtpublicterm inalor
                         purchased through theCourtReporter/Transcriberbeforethe deadline forReleaseof
                         TranscriptRestriction.Afterthatdate itm ay beobtainedthrough PACER.Thepolicy
                         governing the redaction ofpersonalinform ation is located on the courtw ebsite at
                         www.ctd.uscourts.gov.RedactionRequestdue 1/30/2012.Redacted TranscriptDeadlineset
                    for2/9/2012.ReleaseofTranscriptRestrictionsetfor4/8/2012.(Catucci,S.)(Entered:
                    01/09/2012)
12/14/2011      17. MinuteEntryforproceedingsheldbeforeJudgeStefanR.Underhill:SentencingastoJuan
                .

                         CarlosGuillen Zerpaheld on 12/14/2011.Oralruling issued by JudgeUnderhillgranting 71
                         MotionforAcceptanceofResponsibility astoJuanCarlosGuillenZerpa(1).TotalTime:1
                         hourand35minutestcourtReporterSusanCatucci.)(Sbalbi,B.)(Entered:12/28/2011)
12/14/2011          71   MOTION forAcceptanceofResponsibilitybyUSA astoJuan CarlosGuillenZerpa.(Sbalbi,
                         B.)(Entered:12/28/2011)
12/13/2011      JLQ      NOTICE ofFiling byUSA asto JuanCarlosGuillenZerpa(Attachments:#lExhibitA)
                         (M tzrphy,Paul)(Entered:12/13/2011)
12/09/2011      j..%     SENTENCING MEMORANDUM byUSA astoJuanCarlosGuillenZerpa(Schechter,
                         Richard)(Entered:12/09/2011)
12/02/2011      j.
                 3.      SENTENCING M EMORANDUM byJuanCarlosGuillenZerpa(Filan,James)(Entered:
                         12/02/2011)
10/27/2011         67 NOTICE OF E-FILED CALEN DAR asto Juan CarlosGuillen Zerpa:THIS IS THE ONLY
                      N O TICE CO UN SEL/TH E PAR TIES W ILL RECEIV E.A LL PERSON S EN TERIN G TH E
                      COURTHOUSE M U ST PRESENT PHOTO IDENTIFICATION .Sentencing rescheduled for
                      12/14/2011at10:00 AM in Courtroom One,915 LafayetteBlvd.,Bridgeport,CT before
                         JudgeStefanR.Underhill.(Hungerford,A.)(Entered:10/27/2011)
10/19/2011     I.û Preliminary ORDER DIRECTING FORFEITURE OF PROPERTY astoJuanCarlosGuillen
                    Zerpa..SignedbyJudgeStefanR.Underhillon 10/18/11.(Lewis,D)(Entered:10/19/2011)
10/18/2011      65 ORDER grantingj.  zM otionforForfeittlreofPropertyastoJuanCarlosGuillenZerpa(1).A
                    writtenorderwillfollow.SignedbyJudgeStefanR.Underhillon 10/18/11.(Sbalbi,B.)
                    (Entered:10/18/2011)
10/18/2011     I..
                 9 SealedSentencingRecommendation:astoJuanCarlosGuillenZem a(Lopez,R.)(Entered:
                    10/18/2011)
10/18/2011     1.
               . 2. PRESENTENCE INVESTIGATION REPORT (FinalReport)(SEALED -governmentand
                    de# nsecounsel)astoJuanCarlosGuillenZerpa.(availabletoUSA,JuanCarlosGuillen
                    Zerpa)(Attachments:#1 lnformation,#2PleaAgreement,#3.StatementoftheOffense,#!:
                    FinancialStatement,#j.Addendllm,#é PSR Objections,#l Government'sResponse)
                    (Lopez,R.)(Entered:10/18/2011)
10/17/2011     1.2. MOTION forForfeitureofProperty(Preliminary OrderofForfeiture)byUSA astoJuan
                    CarlosGuillenZerpa.(Attachments:#1 Preliminary OrderofForfeiture,#2Amendmentto
                    thePleaAgreementltschechter,Richard)(Entered:10/17/2011)
08/31/2011         61 N O TICE O F E-FILED CA LEN D A R asto Juan Carlos Guillen Zerpa:TH IS IS TH E ON LY
                      N O TICE C OUN SEL/TH E PA RTIES W ILL RECEIV E.A LL PER SON S EN TERIN G TH E
                      COU RTH OU SE M U ST PRESEN T PH O TO ID EN TIFICA TION .Sentencing setfor
                      11/8/2011at10:00 AM in Courtroom One,915 LafayetteBlvd.,Bridgeport,CT before Judge
                  StefanR.Underhill.(Hungerford,A.)(Entered:08/31/2011)
                    )
08/29/2011     iQ PRESENTENCE INVESTIGATION REPORT tDraR Report)(SEALED -governmentand
                  defensecounsel)astoJuan CarlosGuillenZerpa.(availabletoUSA,JuanCarlosGuillen
9 of 14
           Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 10 of 14
                         Zerpa)(Attachments:#1Information,#;.PleaAgreement,#.
                                                                            3.StatementoftheOffense,#é
                         FinancialStatementltLopez,R.)(Entered:08/29/2011)
08/24/2011           59 ORDER granting j.j.Motionto ModifyConditionsofReleaseasto Juan CarlosGuillenZerpa
                                          .

                         (1).SignedbyJudgeStefanR.Underhillon 8/24/11.(Sbalbi,B.)(Entered:08/24/2011)
08/23/2011       J.j. SecondM OTION toModifyConditionsofReleaseto TravelbyJuanCarlosGuillenZerpa.
                 .

                      (Fi1an,James)(Entered:08/23/2011)
08/10/2011        57 ORDER grantingj.. iMotiontoM odifyConditionsofReleasetotravelastoJuanCarlos
                      GuillenZerpa(1).SignedbyJudgeStefanR.Underhillon8/10/11.(Sbalbi,B.)(Entered:
                      08/10/2011)
08/08/2011       J..
                   i FirstMOTION toM odifyConditionsofReleaseto TravelbyJuanCarlosGuillen Zerpa.
                      (Fi1an,James)(Entered:08/08/2011)
06/22/2011           55 ORDER granting/-'èM otiontoM odifyConditionsofReleaseastoJuanCarlosGuillenZerpa
                        (1).SignedbyJudgeStefanR.Underhillon6/22/11.(Sbalbi,B.)(Entered:06/22/2011)
06/21/2011       S
                 .       ORDER approvingAgreementtoForfeitastoJuanCarlosGuillenZema.SignedbyJudge
                      StefanR.Underhillon6/20/11.(Barrille,J.)(Entered:06/21/2011)
06/16/2011       J..
                   2. ReceiptforBondPackageastoJuanCarlosGuillenZerpaReceiptNumber0018(Barrille,J.)
                      (Entered:06/20/2011)
06/16/2011           51 SENTENCING SCHEDULIN G ORDER asto Juan CarlosGuillen Zem aPSIdue 9/8/2011
                        2nd PS1due 10/5/2011M em o in aid ofsentencing due 7dayspriorto sentencing Government
                        Response due4 dayspriorto sentencing.Sentencing setfor10/14/2011 11:00AM in
                        Courtroom One,915 LafayetteBlvd.,Bridgeport,CT beforeJudge Stefan R.Underhill.
                         SignedbyJudgeStefanR.Underhillon6/16/11.(Sbalbi,B.)(Entered:06/16/2011)
06/16/2011           50 AM ENDED N OTICE OF E-FILED CALEN DAR astoJuan CarlosGuillen Zerpa:THIS IS
                        TH E ON LY N O TICE COUN SEL/THE PA RTIES W ILL RECEIV E.A LL PERSON S
                         EN TERIN G TH E CO UR TH OU SE M U ST PRESEN T PH OTO ID EN TIFICA TION .
                         Sentencing RESCHEDULED for10/14/2011at11:00AM in Courtroom One,915Lafayette
                        Blvd.,Bridgeport,CT beforeJudgeStefanR.Underhill.(Sbalbi,B.)(Entered:06/16/2011)
06/16/2011           49 ORDER grantingM M otiontoadjustschedulingorderastoJuanCarlosGuillenZerpa(1).
                         Sentencing dateisrescheduled forOctober14,2011at11:00 a.m .Signed by Judge Stefan R.
                     Underhillon 6/16/11.(Sbalbi,B.)(Entered:06/16/2011)
06/14/2011       JJ. SuretyBondEnteredasto Juan CarlosGuillenZerpainnmountof$1,350,000,(Barrille,J.)
                     (Entered:06/21/2011)
06/10/2011       !.
                  î W AIVER ofSpeedyTrialbyJuanCarlosGuillenZerpa(Fi1an,James)(Entered:06/10/2011)
06/09/2011       4.,
                   !. M OTION toModifyConditionsofReleasebyJuanCarlosGuillenZerpa.(Filan,James)
                   .
                      (Entered:06/09/2011)
06/08/2011       i; JointMOTION ToAdjustSentencing SchedulebyUSA astoJuanCarlosGuillen Zerpa.
                      (Schechter,Richard)(Entered:06/08/2011)
05/19/2011       J.
                  J. TRANSCRIPT ofProceedings:TypeofHearing:W aiverandPleaHearing.Heldon 5/4/11
                         before Judge Stefan R.Underhill.CourtReporter:Susan E.Catucci.IM PO R TAN T
                         N O TICE - RED A CTIO N O F TR AN SCR IPT S:To rem ove personalidentifierinfonnation
                         from the transcript,a party m ustelectronically tsle a N otice oflntentto RequestRedaction
                         withtheClerk'sOfficewithinseven (7)calendardaysofthisdate.lfnosuchNoticeisfiled,
                         thecourtwillassume redaction ofpersonalidentitiersisnotnecessary and thetranscriptwill
                         bem adeavailablethrough PACER withoutredaction 90 daysfrom today'sdate.The
                         transcriptm ay be view ed atthe courtpublic term inalorptzrchased through the Court
10 of 14


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               Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 11 of 14
                         r   Reporter/Transcriberbeforethe deadline forReleaseofTranscriptRestriction.Afterthatdate
                         )   itm ay beobtained through PACER. Thepolicy governing theredaction ofpersonal
                         )   information islocated on the courtwebsiteatw ww.ctd.uscourts.gov.Redaction Requestdue
                             6/9/2011.Redacted TranscriptDeadline setfor6/19/2011.ReleaseofTranscriptRestriction
                         setfor8/17/2011.(Catucci,S.)(Entered:05/19/2011)
    05/09/2011       i4 ORDER approvingAgreementtoForfeitPropertyastoJuanCarlosGuillen ZerpareStlrety
                         Bond.Signedby JudgeStefanR.Underhillon 5/9/11.tBarrille,J.)(Entered:05/18/2011)
    05/09/2011       1.
                      3. ORDER approvingAgreementtoForfeitPropertyastoJuanCarlosGuillenZerpareSurety
                         Bond.SignedbyJudgeStefanR.Underhillon 5/9/11.(Barrille,J.)(Entered:05/18/2011)
    05/09/2011       !.
                      2. ORDER approvingAgreementtoForfeitPropertyastoJuan CarlosGuillenZerpareSurety
                         Bond.SignedbyJudgeStefanR.Underhillon5/9/11.tBarrille,J.)(Entered:05/18/2011)
                         ,



    05/09/2011       1.1. ORDER approvingAgreementtoForfeitPropeo astoJuan CarlosGuillenZerpareSurety
                          Bond.SignedbyJudgeStefanR.Underhillon5/9/11.tBarrille,J.)(Entered:05/18/2011)
    05/09/2011       #.
                      Q ORDER OF REFEIG AL TO PROBATION FOR PRESENTENCE INVESTIGATION AND
                      :
                          REPORT astoJuan CarlosGuillenZerpa.FirstDisclosure-psldue6/15/11;ObjectionsDue
                         '
                             6/28/11;znd-D isclosure PSI due 7/12/11.Sentencing M em orandtlm due 10 dayspriorto
                             sentencing;Responsedue 10 dayspriorto sentencing.Sentencing setfor7/22/201103:00 PM
                         beforeJudgeStefanR.Underhill.SignedbyJudgeStefanR.Underhillon5/9/11.(Lewis,D)
                         (Entered:05/11/2011)
    05/06/2011       3.2 PLEA AGREEMENT astoJuanCarlosGuillenZerpa(M urphy,Paul)(Entered:05/06/2011)
                     .



    05/04/2011       :
                     3..
                       4 ORDER OF TRANSFER astoJuan CarlosGuillenZep a.Signedby JudgeMarkR.Kravitz
                         on4/27/11.tBarrille,J.)(Entered:05/06/2011)
    05/04/2011       3J ELECTRONIC FILING ORDER astoJuanCarlosGuillenZerpa-PLEASE ENSURE
                         COM PLIANCE W ITH COURTESY COPY REQUIREM ENTSIN THISORDER.Signedby
                         JudgeStefanR.Underhillon 5/4/11.(Barrille,J.)(Entered:05/06/2011)
    05/04/2011               Attorney updatein caseasto Juan CarlosGuillen Zerpa.Attorney DavidB.Feinsm chard J.
                             Schechter,paulA.M urphyforUSA added.tBanille,J.)(Entered:05/06/2011)
    05/04/2011 ié SEALED SURETYINFORMATION SHEETastoJuanCarlosGuillenZerpa(Banille,J.)
                             (Entered:05/06/2011)
    05/04/2011       M       SEALED SURETY INFORM ATION SHEET astoJuanCarlosGuillenZerpa(Banille,J.)
                             (Entered:05/06/2011)
    05/04/2011 u
               ié SEALED SURETYINFORMATION SHEETastoJuanCarlosGuillenZematBarrille,J.)
                             (Entered:05/06/2011)
    05/04/2011       l7. SEALED BAIL m FORMATION SHEET byJuanCarlosGuillenZem atBanille,J.)
                         (Entered:05/06/2011)
    05/04/2011           SttretyBondSetastoJuanCarlosGuillenZerpa(1)$1,350,000.A checkfor$250,000anda
                      è checkfor$300,000depositedwiththeClerkoftheCourtand$800,000tobesecuredbyreal
                      ! property.SeeAgreementstoForfeit.(Barrille,J.)(Entered:05/06jgfjj!;
    05/04/2011       J..
                       7. ORDER SettingConditionsofReleaseastoJuanCarlosGuillenZerpa.Signedby Judge
                          StefanR.Underhillon 5/4/11.(Barrille,J.)(Entered:05/06/2011)
    05/04/2011       il. MinuteEntryforproceedingsheldbeforeJudgeStefanR.Underhill:WaivergleaHearingas
                     -

                             toJuancarlosGuillenZerpa(1)heldon5/4/2011,PleaenteredGuiltyCount1.(Sentencing
                             setfor7/22/201103:00PM beforeJudgeStefanR.Underhill)TotalTime:1hoursand28
                             minutestcourtReportercatucciltBarrille,J.)(Entered:05/06/2011)
    11 of 14
                     )
           Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 12 of 14
05/04/2011       )Q W AIVER OF INDICTM ENT byJuanCarlosGuillenZerpa(Banille,J.)(Entered:
                 .

                     05/06/2011)
05/04/2011       lQ INFORM ATION astoJuanCarlosGuillenZerpa(1)count1.(Barrille,J.)(Entered:
                  r 05/06/2011)
04/07/2011       JJ. ATTORNEY APPEARANCE:M ichaelDiaz,JrappearingforJuan CarlosGuillenZerpa
                     (Barrille,J.)g3:11-mj-00039-W 1Gj(Entered:04/07/2011)
04/05/2011       ;J. ATTORNEY APPEARANCE:CarlosF.GonzalezappearingforJuanCarlosGuillenZerpa
                     (Barrille,J.)g3:11-mj-00039-W lG1(Entered:04/28/2011)
04/05/2011                A ttorney update in case asto Juan Carlos Guillen Zem a.A ttorney CarlosF.Gonzalez for
                        JuanCarlosGuillenZerpaadded.tvillano,P.)(3:11-mj-00039-W 1Gj(Entered:04/26/2011)
04/05/2011           27 ORDER granting;-4MotionforLeavetoAppearProHacViceCarlosF.GonzalezastoJuan
                        CarlosGuillenZerpa(1).Signedby Clerkon4/5/11.(Barrille,J.)(3:11-mj-00039-W lG1
                        (Entered:04/25/2011)
04/05/2011       ).
                  i CERTIFICATE OFGOOD STANDING re;..
                                                    1:MOTION forLeavetoAppearProHacVice
                    Attorney:CarlosF.Gonzalez.FilingFee$$25.ReceiptNumberCTXB00000564.(Banille,
                    J.)g3:11-mj-00039-W lGj(Entered:04/25/2011)
04/0              )
      5/2011     2.
                  1 AFFIDAVIT byJuanCarlosGuillenZema7-4 MOTION forLeavetoAppearProHacVice
                          Attorney:CarlosF.Gonzalez.Filing Fee$$25.ReceiptNum berCTXB00000564.filedby
                          JuanCarlosGuillenZerpa(Banille,J.)(3:11-mj-00039-W IGj(Entered:04/25/2011)
04/05/2011       12.
                   4 MOTION forLeavetoAppearProHacViceAttorney:CarlosF.Gonzalez.FilingFee$$25.
                     ReceiptNumberCTXB00000564.by JuanCarlosGulllenZerpa.(Barrille,J.)(3:1l-mj-
                     00039-W lG1(Entered:04/25/2011)
04/05/2011       D        CERTIFICATE OF GOOD STANDING re.l      ..
                                                                  éM OTION forLeavetoAppearProHacVice
                          Attorney:M ichaelDiaz,Jr..FilingFee$25.ReceiptNtlmber8536.tBanille,J.)(3:1l-mj-
                          00039-W IGq(Entered:04/21/2011)
04/05/2011       7..2 CERTIFICATE OF GOOD STANDING re.J.J.M OTION forLeavetoAppearProHacVice
                          Attorney:Robert1.Targ.FilingFee$$25.ReceiptNumber8537.(Barrille,J.)(3:11-mj-
                          00039-W 1Gj(Entered:04/21/2011)
04/05/2011       lt       ATTORNEY APPEARANCE:Robert1.TargappearingforJuanCarlosGuillenZerpa
                          (Banille,J.)(3:11-mj-00039-W 1G)(Entered:04/21/2011)
04/05/2011       2.Q      ORDER OFDETENTION astoJuanCarlosGuillenZema.SignedbyJudgeW illiam 1.
                          Garfinkelon4/5/11.tBarrille,J.)g3:11-mj-00039-W 1G)(Entered:04/21/2011)
04/05/2011       JX       M inuteEntryforproceedingsheldbeforeJudgeW illinm 1.Garfirlkel:lnitialAppearanceasto
                          Juan CarlosGuillenZem aheldon4/5/20118minutestcourtReporterFTR)(Barrille,J.)
                          (3:11-mj-00039-W IG1(Entered:04/21/2011)
04/05/2011           17   ORDER granting 12 M otion forextension ofSpeedy Trialto 6/1/11asto Juan CarlosGuillen
                                           ...
                                             .

                     j    Zerpa(1).SoOrderedby JudgeW illiam 1.Gartinkelon4/5/11.(Barrille,J.)(3:11-mj-00039-
                     j    W IGI(Entered:04/05/2011)
03/30/2011                Set/ResetDeadlinesm earingsasto Juan CarlosG uillen Zerpa:Certificate ofGood Standing
                          dueby5/30/2011forAttorneysM ichael1.Targ& M ichaelDiaz,Jr.tlnferrera,L.)g3:1l-mj-
                          00039-W lGj(Entered:04/21/2011)
03/30/2011                A ttorney update in case asto Juan Carlos Guillen Zerpa.Attorney M ichaelD iaz,Jr forJuan
                     p CarlosGuillenZerpaadded.(Villano,P.)(3:11-mj-00039-W lGq(Entered:03/31/2011)
                     h
03/30/2011                A ttorney update in case asto Juan Carlos Guillen Zerpa.Attorney Robert1.Targ forJuan
12 of 14             7

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                         l
               Case 1:13-tp-20034-MGC Document 1 Entered on FLSD Docket 03/29/2013 Page 13 of 14
                         q CarlosGuillenZerpaadded.(Villano,P.)(3:11-mj-00039-W 1G1(Entered:03/31/2011)
                         2
    03/30/2011        i
                      !16        El-sc-rRox lc O RD ER granting 14M otion forLeavetoAppearproHacviceAttonwy:
                                                               ...
                                                                 -

                      j          M ichaelDiaz,JrastoJuan CarlosGuillenZerpa(1).Signedby Clerkon3/30/2011.(Villano,
                      k          P.)(3:11-mj-00039-W IG1(Entered:03/30/2011)
                      ;
    03/30/2011        15         ELECTRONIC ORDER grantingJJ-MotionforLeavetoAppearProHacViceAttorney:
                      j          Robert1.TargastoJuanCarlosGuillenZerpa(1).Signedby Clerk on3/30/2011.(Villano,
                      (          P.)g3:11-mj-00039-W lG1(Entered:03/30/2011)
    03/28/2011        )
                     J-4
                     .           M OTION forLeavetoAppearProHacViceAttorney:M ichaelDiaz,Jr..FilingFee$25.
                      '          ReceiptNumber8536.byJuanCarlosGuillenZerpa.(Attachments:#lAppendixltBarrille,
                      l          J.)(3:11-mj-00039-W IG1(Entered:03/30/2011)
    03/28/2011       J
                     i MOTION forLeavetoAppearProHacViceAttorney:Robert1.Targ.FilingFee$$25.
                                 ReceiptNumber8537.by JuanCarlosGuillenZerpa.(Attachments:#1 AppendixltBarrille,
                                 J.)(3:11-mj-00039-W 1Gq(Entered:03/30/2011)
    03/28/2011       J-.
                       ;         ATTORNEY APPEARANCE:JamesK.Filan,JrappearingforJuan CarlosGuillenZerpa
                                 (Barrille,J.)(3:11-mj-00039-W lG)(Entered:03/30/2011)
    03/25/2011       1
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                     .           ATTORNEY APPEARANCE RichardJ.Schechterappearing forUSA (Schechter,Richard)
                                 (3:11-mj-00039-W lG1(Entered:03/25/2011)
    03/24/2011       kQ
                     .           JointM OTION forSpeedyTrialExtensionbyUSA astoJuan CarlosGuillenZema.
                                 (Attachments:#1TextofProposedOrder,#2W aiver,#.     3.CertificationltM urphy,Paul)
                         r       (3:11-mj-00039-W 1GJ(Entered:03/24/2011)
    03/21/2011           i
                         x       Rule5DocumentsReceivedastoJuanCarlosGuillenZerpatBarrille,J.)(3:11-mj-00039-
                         q       W IGI(Entered:03/23/2011)
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    03/07/2011           # ELECTRONIC FILING ORDER astoJuanCarlosGuillenZerpa-PLEASEENSURE
                         ! COM PLIANCE W ITH COURTESY COPY REQUIREM ENTSIN THIS ORDER.Signedby
                         ' JudgeW illinm 1.Garfinkelon 3/7/11.(Barrille,J.)(3:11-mj-00039-W 1G)(Entered:
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                           03/14/2011)
    03/07/2011                   CASE UNSEALED astoJuanCarlosGuillenZerpa(Barrille,J.)(3:11-mj-00039-W lG1
                                 (Entered:03/07/2011)
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    03/07/2011               7   O RD ER granting iM otiontoUnsealCaseastoJuanCarlosGuillenZerpa(1).Signedby
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                         2       JudgeW illinm 1.Garfinkelon 3/7/11.tBarrille,J.)(3:11-mj-00039-W lG1(Entered:
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                                 00039-W lG1(Entered:03/07/2011)
    03/04/2011               5   O RDER granting '!:M otiontopartiallyunsealastoJuan CarlosGuillenZerpa(1).Signedby
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                                 JudgeW illiam 1.Garfinkelon 3/4/11.(Barrille,J.)(3:11-mj-00039-W 1G)(Entered:
                                 03/07/2011)
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    03/04/2011           )
                         4       M OTION topartiallyunsealcasebyUSA astoJuanCarlosGuillenZem a.tBarrille,J.)
                         l       (3:11-mj-00039-W 1GJ(Entered:03/07/2011)
    03/03/2011                   ArrestofJuanCarlosGuillenZerpainSouthernDistrictofFlorida.(Banille,J.)(3:1l-mj-
                                 00039-W IG1(Entered:03/23/2011)
    03/02/2011           (
                         1       AFFIDAVIT byUSA astoJuanCarlosGuillenZerpa1Complaint(Sealed)(Barrille,J.)
                                 (3:11-mj-00039-W 1G1(Entered:03/07/2011)
    03/02/2011           .
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                         r   .   SEALED COMPLAIXT astoJuan carlosGuillenzerpa(1).(Barrille,J.)(3:11-mj-00039-
                         :       w lq (Entered:03/07/2011)
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